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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

(CENTRAL DIVISION)
In re:
SOUTHERN SKY AIR & TOURS, LLC Chapter 7
d/b/a DIRECT AIR, Case No. 12-40944-MSH
Debtor.

09/15/2014 ALLOWED. NO OBJECTIONS FILED. fy, “L :

MOTION TO APPROVE STIPULATION OF SETTLEMENT
(Re: Complaint to Avoid and Recover Transfers to Beechwood Lakeland Hotel, LLC
a/k/a Beechwood Lkld Hotel, LLC a/k/a Hilton Garden Inn
a/k/a Hilton Garden Inn Lakeland a/k/a Hilton Garden Front Desk)

To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

NOW COMES Joseph H. Baldiga, the Chapter 7 trustee (the “Trustee”’) of the
bankruptcy estate (the “Estate”) of Southern Sky Air & Tours, LLC d/b/a Direct Air, the debtor
herein (the “Debtor”), and hereby moves (the “Motion”) this Court pursuant to Rule 9019 of the
Federal Rules of Bankruptcy Procedure for an order approving the Stipulation of Settlement (the
“Settlement Agreement”) entered into by the Trustee and Beechwood Lakeland Hotel, LLC a/k/a
Beechwood Lkld Hotel, LLC a/k/a Hilton Garden Inn a/k/a Hilton Garden Inn Lakeland a/k/a
Hilton Garden Front Desk (“Hilton Garden Inn”; together with the Trustee, the “Parties”), a copy
of which is filed concurrently herewith.

In support of this Motion, the Trustee states as follows:

I. BACKGROUND

1. On March 15, 2012 (the “Petition Date”), the Debtor filed a voluntary petition for
relief under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532 (the

“Bankruptcy Code”).

2. On April 11, 2012 (the “Conversion Date’), this Court converted the Debtor’s

bankruptcy case to one under Chapter 7 of the Bankruptcy Code.

{Practice Areas/CORP/15008/14190/A2644407,.DOC}
